             Case 2:25-cv-00418                  Document 1-3     Filed 01/24/25      Page 1 of 1 PageID #: 31

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the

                                       EASTERN DISTRICT OF NEW YORK

Carlos Contreras                                                          )
                                                                          )
                                                                          )
                                                                          )
                                Plaintiff(s)                              )
                                                                          )   Civil Action No.
                             v.                                           )
Polar Property Services, Inc., John A. Romanelli and                      )
Richard P. Sculco                                                         )
                                                                          )
                                                                          )
                               Defendant(s)                               )



                                                   SUMMONS IN A CIVIL ACTION

 To:              Richard P Sculco
                  3715 Crest Road
                  Wantagh, NY 11793

           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:

                            Steven John Moser
                            Moser Law Firm, PC
                            133 C New York Avenue
                            Huntington, NY 11743
                            steven.moser@moserlawfirm.com


        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                      CLERK OF COURT

 Date:
                                                                                   Signature of Clerk or Deputy Clerk
